












Dismissed and Memorandum Opinion filed November 23, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00918-CV

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&nbsp;

TFT GALVESTON PORTFOLIO, LTD AND 

WALTER TEACHWORTH, Appellant

&nbsp;

V.

&nbsp;

PARAMOUNT INSURANCE REPAIR SERVICES, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the 56th District Court

Galveston County, Texas

Trial Court Cause No. 09CV0135

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed, June 21, 2010.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On October 20, 2010, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Seymore, Boyce, and Christopher.

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